     Case 2:19-cv-00627-MCE-KJN Document 1-3 Filed 04/12/19 Page 1 of 2

 1   Alden J. Parker, State Bar No. 196808
     Email: aparker@fisherphillips.com
 2   Drew M. Tate, State Bar No. 312219
 3   Email: dtate@fisherphillips.com
     FISHER & PHILLIPS, LLP
 4   621 Capitol Mall, Suite 1400
     Sacramento, CA 95814
 5   Telephone (916) 210-0400
     Facsimile (916) 210-0401
 6
     Attorneys for Defendants
 7   WARRIOR TRADING, INC.;
     and ROSS CAMERON
 8

 9                           IN THE UNITED STATES DISTRICT COURT
10                        FOR THE EASTERN DISTRICT OF CALIFORNIA
11
     JEFFREY P. FORTIS, an individual,        Case No.: _____________________
12
                    Plaintiff,                [Previously Yolo County Superior Court Case
13                                            Number CV 19-472; Assigned to the Hon.
            v.                                Peter M. Williams, Dept. 8]
14
     WARRIOR TRADING, INC., a Delaware        DECLARATION OF ALDEN J.
15
     corporation; ROSS CAMERON, an            PARKER IN SUPPORT OF
16   individual; and DOES 1 through 50,       DEFENDANTS WARRIOR TRADING,
     inclusive,                               INC. AND ROSS CAMERON’S NOTICE
17                                            OF REMOVAL UNDER 28 U.S.C. §§
                    Defendants.               1332, 1441, AND 1446
18

19                                            State Action Filed: March 7, 2019

20

21

22

23

24

25

26

27

28

       DECLARATION OF ALDEN J. PARKER IN SUPPORT OF DEFENDANTS WARRIOR TRADING, INC.
         AND ROSS CAMERON’S NOTICE OF REMOVAL UNDER 28 U.S.C. §§ 1332, 1441, AND 1446
     FPDOCS 35247632.1
     Case 2:19-cv-00627-MCE-KJN Document 1-3 Filed 04/12/19 Page 2 of 2

 1                             DECLARATION OF ALDEN J. PARKER
 2          I, Alden J. Parker, hereby declare and state as follows:
 3          1.      I am an attorney at law duly licensed to practice before all courts in the State of
 4   California and I am the regional managing partner of the Sacramento Office of Fisher & Phillips
 5   LLP, counsel of record for Defendants ROSS CAMERON and WARRIOR TRADING, INC.
 6   (collectively “Defendants”). I make this Declaration in support of Defendants’ Notice of
 7   Removal pursuant to 28 U.S.C. Sections 1332, 1441 and 1446. Based upon my personal
 8   knowledge, I assert the facts set forth herein and, if called as a witness, I could and would
 9   competently testify thereto.
10          2.      Attached as Exhibit A to Defendants’ Notice of Removal filed concurrently with
11   this Declaration is a true and correct copy of the Summons, Plaintiff JEFFREY P. FORTIS’
12   (“Plaintiff”) Complaint, and other related papers filed by Plaintiff in the Superior Court of
13   California, County of Yolo, on March 7, 2019. Plaintiff’s Complaint was served upon Defendants
14   on March 14, 2019.
15          3.      On information and belief, and as of the date of the filing of Defendants’ Notice
16   of Removal, no other pleadings or other papers have been filed in the state court action.
17          4.      Proofs of Service of the Notice to the Yolo County Superior Court Clerk of
18   Removal to Federal Court in the Eastern District of California and the Notice to the Adverse
19   Party of Removal to Federal Court will be filed with this Court shortly after the Superior Court
20   filing and service upon the adverse party are accomplished.
21          I declare under penalty of perjury under the laws of these United States of America and
22   California that the foregoing is true and correct. Executed this 12th day of April, 2019 in
23   Sacramento, California.
24
                                                   /s/ Alden J. Parker
25
                                                   Alden J. Parker
26

27

28
                                             1
       DECLARATION OF ALDEN J. PARKER IN SUPPORT OF DEFENDANTS WARRIOR TRADING, INC.
         AND ROSS CAMERON’S NOTICE OF REMOVAL UNDER 28 U.S.C. §§ 1332, 1441, AND 1446
     FPDOCS 35247632.1
